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 1                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF WISCONSIN
 2

 3

 4     Gail Marie Heurung,

 5              Plaintiff,                           Case No. 3:21-cv-00376-jdp
 6     v.
 7
       Comenity Bank,
 8
            Defendant.
 9     ____________________________
10

11                   NOTICE OF VOLUNTARY DISMISSAL PURSUANT
        FED.R.CIV.P. 41(a)(1)(A)(i) AND REQUEST FOR ENTRY OF DISMISSAL ORDER
12
     TO THE HONORABLE COURT:
13

14             NOW COMES, Plaintiff, Gail Marie Heurung, through her undersigned attorney, and

15   respectfully states and prays:
16
               1.       On June 4, 2021, Plaintiff filed the complaint of caption. See ECF entry No. 1.
17
     On August 17, 2021, Defendant filed a motion for a second extension to plead in response. (ECF
18

19   No. 7).

20             2.       Federal Rule of Civil Procedure 41 provides, in its relevant part:
21
                        (a) Voluntary Dismissal.
22
                        (1) By the Plaintiff.
23
                       (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
               and any applicable federal statute, the plaintiff may dismiss an action without a
25             court order by filing:

26                        (i) a notice of dismissal before the opposing party serves either an
                    answer or a motion for summary judgment; or
27

28                  (ii) a stipulation of dismissal signed by all parties who have appeared.


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 1                  (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is
            without prejudice. But if the plaintiff previously dismissed any federal-or state-
 2
            court action based on or including the same claim, a notice of dismissal operates as
 3          an adjudication on the merits.”

 4   Fed.R.Civ.P. 41, 28 U.S.C.A. (emphasis added).
 5
            3.      The complaint has not been answered by the defendants, even though counsel
 6
     appeared and requested an extension to plead in response.
 7

 8          4.      Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), Plaintiff respectfully notifies the

 9   voluntary dismissal of the Complaint, with prejudice.
10
            WHEREFORE, Plaintiff respectfully requests this Honorable Court to GRANT the
11
     instant request for voluntary dismissal of the Complaint with prejudice.
12

13          RESPECTFULLY SUBMITTED, on this 16th day of September, 2021.
14

15                                                 /s/ Carlos C. Alsina-Batista
                                                   Carlos C. Alsina-Batista (State Bar No. 327286)
16                                                 RECOVERY LAW GROUP, APC
                                                   4321 W. College Ave., Suite 200
17
                                                   Appleton, WI 54915
18                                                 Telephone: 888-213-0169
                                                   Facsimile: 866-286-8433
19                                                 Email: CAlsinaBatista@recoverylawgroup.com
                                                   Attorneys for Plaintiff, Gail M. Heurung
20

21                                   CERTIFICATE OF SERVICE

22            I hereby certify that on September 16, 2021, I electronically filed the foregoing document
23
     with the Clerk of the Court through the CM/ECF system, which will send notification of such
     filing to all attorneys of record.
24                                                         \
                                             /s/ Carlos C. Alsina-Batista
25                                          Carlos C. Alsina-Batista
26                                          Attorney for Plaintiff, Gail M. Heurung

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